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Case 3:99-cv-01597-JAG

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UNITED STATES DISTRICT COURT Ca) fr
FOR THE DISTRICT OF PUERTO RICO re a

JAMES YANNELLO, ET AL
Plaintiff(s)

Vv. CIVIL NUMBER: 99-1597 (JAG)

PATRIOT AMERICAN, WYNDHAM
MANAGEMENT CORP., ET AL

Defendant(s)

MOTION ORDER

Date Filed: 04/05/01

Title: Motion for Leave to File Third Party GRANTED.
Complaint
Docket(s): 109

[ ] PIff(s) [x]Dft(s) [] Other

   
  
 

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Date: April 25, 2001 .
U.S District Judge
